                                                      U.S. Department of Justice

                                                      United States Attorney
                                                      Southern District of New York
                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007

                                                      June 30, 2021

BY ECF

The Honorable Alison J. Nathan
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007

       Re:     United States v. Ghislaine Maxwell, 20 Cr. 330 (AJN)

Dear Judge Nathan:

        The parties jointly submit this letter in response to the Court’s June 30, 2021 Order
directing the parties to indicate whether they propose any redactions to the Court’s June 25, 2021
Opinion and Order denying the defendant’s suppression motions as well as Exhibits D, E, F, and
G (the “Exhibits”) to the memorandum of law in support of the defendant’s first motion to suppress
(Dkt. No. 134). (Dkt. No. 305). The parties have conferred and do not seek any redactions to the
Court’s June 25, 2021 Opinion and Order or the Exhibits. Accordingly, the parties have no
objection to the public filing of the Opinion and Order and the Exhibits without redactions.

                                                   Respectfully submitted,

                                                   AUDREY STRAUSS
                                                   United States Attorney


                                             By:      s/
                                                   Maurene Comey / Alison Moe /
                                                   Lara Pomerantz / Andrew Rohrbach
                                                   Assistant United States Attorneys
                                                   Southern District of New York

Cc: Defense counsel (By ECF)
